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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                              10/15/2020
 United States of America,


                –v–                                                           19-cr-607 (AJN)

                                                                                   ORDER
 Alejandro Paulino,

                       Defendant.



ALISON J. NATHAN, District Judge:

       Defendant Alejandro Paulino is scheduled to be sentenced on October 21, 2020 at 1:00

p.m. The proceeding will be conducted by videoconference. The Court will separately provide

the parties with instructions for accessing the Skype for Business platform. At 1:00 p.m. on

October 21, members of the public may access audio for the proceeding by calling (917) 933-

2166 and entering Conference ID number 400930547.

       .


       SO ORDERED.


Dated: October 15, 2020                           __________________________________
       New York, New York                                  ALISON J. NATHAN
                                                         United States District Judge
